  Case 1:18-cv-01607-RGA Document 1 Filed 10/17/18 Page 1 of 18 PageID #: 1



                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF DELAWARE

STEPHEN BUSHANSKY, On Behalf of                  )
Himself and All Others Similarly Situated,       )
                       Plaintiff,                )
                                                 )
                                                 )
                                                 )   Case No. _____________
       v.
                                                 )
CAFEPRESS INC., FRED E. DURHAM, III,                 JURY TRIAL DEMANDED
                                                 )
ANTHONY C. ALLEN, MARY ANN                       )   CLASS ACTION
ARICO, KENNETH T. MCBRIDE and
                                                 )
ALAN B. HOWE,
                                                 )
                       Defendants.               )




         COMPLAINT FOR VIOLATION OF THE FEDERAL SECURITIES LAWS

       Plaintiff Stephen Bushansky (“Plaintiff”), by and through his undersigned counsel, for his

complaint against defendants, alleges upon personal knowledge with respect to himself, and

upon information and belief based upon, inter alia, the investigation of counsel as to all other

allegations herein, as follows:

                                    NATURE OF THE ACTION

       1.      This is a class action brought on behalf of the public stockholders of CafePress

Inc. (“CafePress” or the “Company”) against CafePress and the members of its Board of

Directors (the “Board” or the “Individual Defendants”) for their violations of Sections 14(d)(4),

14(e) and 20(a) of the Securities Exchange Act of 1934 (the “Exchange Act”), 15 U.S.C. §§

78n(d)(4), 78n(e), 78t(a), and U.S. Securities and Exchange Commission (“SEC”) Rule 14d-9,

17 C.F.R. §240.14d-9(d) (“Rule 14d-9”) and to enjoin the expiration of a tender offer (the

“Tender Offer”) on a proposed transaction, pursuant to which CafePress will be acquired by
  Case 1:18-cv-01607-RGA Document 1 Filed 10/17/18 Page 2 of 18 PageID #: 2



Snapfish, LLC (“Snapfish”) through its wholly owned subsidiary Snapfish Merger Sub, Inc.

(“Merger Sub”) (the “Proposed Transaction”).

       2.      On September 28, 2018, CafePress and Snapfish issued a joint press release

announcing that they had entered into an Agreement and Plan of Merger (the “Merger

Agreement”) to sell CafePress to Snapfish. Pursuant to the terms of the Merger Agreement, on

October 12, 2018, Merger Sub commenced the Tender Offer to purchase all outstanding shares

of CafePress for $1.48 in cash per share of CafePress common stock (the “Offer Price”). The

Tender Offer is scheduled to expire at midnight, New York time, on November 8, 2018.

       3.      On October 12, 2018, defendants filed a Solicitation/Recommendation Statement

on Schedule 14D-9 (the “Recommendation Statement”) with the SEC. The Recommendation

Statement, which recommends that CafePress stockholders tender their shares in favor of the

Proposed Transaction, omits or misrepresents material information concerning, among other

things: (i) the background leading to the Proposed Transaction; (ii) potential conflicts of interest

faced by Company insiders; and (iii) the data and inputs underlying the financial valuation

analyses that support the fairness opinion provided by Needham & Company, LLC

(“Needham”).     The failure to adequately disclose such material information constitutes a

violation of Sections 14(d), 14(e) and 20(a) of the Exchange Act as CafePress stockholders need

such information in order to make a fully informed decision whether to tender their shares in

support of the Proposed Transaction or seek appraisal.

       4.      In short, the Proposed Transaction will unlawfully divest CafePress’ public

stockholders of the Company’s valuable assets without fully disclosing all material information

concerning the Proposed Transaction to Company stockholders.              To remedy defendants’




                                                 2
  Case 1:18-cv-01607-RGA Document 1 Filed 10/17/18 Page 3 of 18 PageID #: 3



Exchange Act violations, Plaintiff seeks to enjoin the expiration of the Tender Offer unless and

until such problems are remedied.

                                   JURISDICTION AND VENUE

       5.      This Court has jurisdiction over the claims asserted herein for violations of

Sections 14(d)(4), 14(e) and 20(a) of the Exchange Act and SEC Rule 14d-9 promulgated

thereunder pursuant to Section 27 of the Exchange Act, 15 U.S.C. § 78aa, and 28 U.S.C. § 1331

(federal question jurisdiction).

       6.      This Court has jurisdiction over the defendants because each defendant is either a

corporation that conducts business in and maintains operations within this District, or is an

individual with sufficient minimum contacts with this District so as to make the exercise of

jurisdiction by this Court permissible under traditional notions of fair play and substantial justice.

       7.      Venue is proper under 28 U.S.C. § 1391(b) because a substantial portion of the

transactions and wrongs complained of herein occurred in this District.

                                             PARTIES

       8.      Plaintiff is, and has been at all times relevant hereto, a common stockholder of

CafePress.

       9.      Defendant CafePress is a Delaware corporation and maintains its principal

executive offices at 11909 Shelbyville Road, Louisville, Kentucky 40243.                 Founded in

1999, CafePress is the recognized pioneer of customizable products. Its global online platform

enables people to express themselves through engaging community generated designs and

licensed and personalized one-of-a-kind products. CafePress’ common stock is traded on the

NASDAQ Global Market under the ticker symbol “PRSS.”

       10.     Defendant Fred E. Durham, III (“Durham”) is a Co-Founder, Chairman of the



                                                  3
  Case 1:18-cv-01607-RGA Document 1 Filed 10/17/18 Page 4 of 18 PageID #: 4



Board and Chief Executive Officer (“CEO”) of the Company and has been a director of the

Company since August 1999. Defendant Durham previously served as CEO and Chief Product

Officer of the Company from 1999 to 2011 and returned to his leadership role as CEO in August

2014.

        11.   Defendant Anthony C. Allen (“Allen”) has been a director of CafePress since

May 2015.

        12.   Defendant Mary Ann Arico (“Arico”) has been a director of CafePress since July

2016.

        13.   Defendant Kenneth T. McBride (“McBride”) has been a director of CafePress

since May 2015.

        14.   Defendant Alan B. Howe (“Howe”) has been a director of CafePress since

February 2018.

        15.   Defendants Durham, Allen, Arico, McBride and Howe are collectively referred to

herein as the “Board” or the “Individual Defendants.”

                              OTHER RELEVANT ENTITIES

        16.   Snapfish is a California limited liability company headquartered in San Francisco,

California. Founded in 1999, Snapfish is the leader in online photo printing services providing

high-quality photo products to consumers looking for great value and selection. The company

operates in multiple countries around the world and supports blue-chip companies’ photo efforts.

        17.   Merger Sub is a Delaware corporation and a wholly-owned subsidiary of

Snapfish.




                                               4
  Case 1:18-cv-01607-RGA Document 1 Filed 10/17/18 Page 5 of 18 PageID #: 5



                                CLASS ACTION ALLEGATIONS

        18.     Plaintiff brings this action as a class action pursuant to Rule 23 of the Federal

Rules of Civil Procedure on behalf of all persons and entities that own CafePress common stock

(the “Class”). Excluded from the Class are defendants and their affiliates, immediate families,

legal representatives, heirs, successors or assigns and any entity in which defendants have or had

a controlling interest.

        19.     Plaintiff’s claims are properly maintainable as a class action under Rule 23 of the

Federal Rules of Civil Procedure.

        20.     The Class is so numerous that joinder of all members is impracticable. While the

exact number of Class members is unknown to Plaintiff at this time and can only be ascertained

through discovery, Plaintiff believes that there are thousands of members in the Class. As of

October 1, 2018, there were 17,157,334 shares of Company common stock outstanding. All

members of the Class may be identified from records maintained by CafePress or its transfer

agent and may be notified of the pendency of this action by mail, using forms of notice similar to

those customarily used in securities class actions.

        21.     Questions of law and fact are common to the Class and predominate over

questions affecting any individual Class member, including, inter alia:

                (a)       Whether defendants have violated Section 14(d)(4) of the Exchange Act

and Rule 14d-9 promulgated thereunder;

                (b)       Whether the Individual Defendants have violated Section 14(e) of the

Exchange Act;

                (c)       Whether the Individual Defendants have violated Section 20(a) of the

Exchange Act; and



                                                 5
  Case 1:18-cv-01607-RGA Document 1 Filed 10/17/18 Page 6 of 18 PageID #: 6



               (d)     Whether Plaintiff and the other members of the Class would suffer

irreparable injury were the Proposed Transaction consummated.

       22.     Plaintiff will fairly and adequately protect the interests of the Class, and has no

interests contrary to or in conflict with those of the Class that Plaintiff seeks to represent.

Plaintiff has retained competent counsel experienced in litigation of this nature.

       23.     A class action is superior to all other available methods for the fair and efficient

adjudication of this controversy. Plaintiff knows of no difficulty to be encountered in the

management of this action that would preclude its maintenance as a class action.

       24.     Defendants have acted on grounds generally applicable to the Class with respect

to the matters complained of herein, thereby making appropriate the relief sought herein with

respect to the Class as a whole.

                               SUBSTANTIVE ALLEGATIONS

Company Background

       25.     CafePress, founded in 1999, is an online retailer of stock and user-customized on

demand products. The Company is a leading provider of personalized products offering a wide

variety of expressive gifts and accessories, including t-shirts and apparel, mugs and drinkware

and home goods such as custom shower curtains and bed coverings. CafePress conducts most of

its business on its primary United States-based domain, CafePress.com, and operates CafePress

branded websites for markets in the United Kingdom, Canada and Australia. The Company also

sells CafePress branded products in the United States and various locations in Europe through its

online retail partners such as Amazon and Walmart.

       26.     Most of the Company’s net revenue is generated from sales of customized

products through its e-commerce websites (collectively referred to as “CafePress.com”),



                                                 6
  Case 1:18-cv-01607-RGA Document 1 Filed 10/17/18 Page 7 of 18 PageID #: 7



associated Retail Partner Channel or through storefronts hosted by CafePress. In addition, the

Company generates limited revenue from third-party printing and fulfillment services.

       27.    On May 2, 2018, the Company issued a press release announcing its first quarter

2018 financial results and actions to drive the Company’s performance, with defendant Durham

commenting:

       As previously stated, our top priority is to return to profitability and begin
       generating positive cash flow. During the first quarter, we took actions to
       simplify the organization and drive business performance that served to reduce
       normalized, annual fixed costs and software development spend by $7 million. In
       addition, we made significant progress toward completing the modernization of
       CafePress.com and demolishing the old site and are pleased to announce that we
       achieved another critical milestone during April, having released the new search
       pages to our primary, US domain. These new search pages are designed to
       improve the search engine optimization and regain revenue lost from lower traffic
       related to changes in search engine algorithms beginning in the second quarter of
       2017.

       Growth in the Retail Partner Channel continued within the quarter as we benefited
       from international expansion and the catalog build out of Walmart.com. During
       April, we began taking orders through our newest partner, eBay, and expect that
       the product catalog build out during 2018 will drive future growth.

       28.    On July 31, 2018, the Company issued a press release announcing its second

quarter 2018 financial results. Defendant Durham commented on the positive impact to the

Company from the actions the Company had taken in the first quarter to improve its

performance, stating:

       The actions we took in the first quarter to drive business performance and return
       to profitability are positively impacting results. During the second quarter, we
       experienced higher gross margins, a reduction in net loss and positive Adjusted
       EBITDA. In addition, we made significant progress toward completing the
       modernization of CafePress.com and demolishing the old site. Although we
       continue to experience lower traffic and revenue through CafePress.com, we are
       seeing improved crawling and indexing rates on our US domain and a slow,
       sequential rebound in traffic. We continue to believe the new, modern website
       will ultimately result in improved search engine optimization and the return of
       revenue lost from lower traffic. Our Board of Directors and management team



                                               7
  Case 1:18-cv-01607-RGA Document 1 Filed 10/17/18 Page 8 of 18 PageID #: 8



          consistent with its fiduciary duty continues to carefully consider all options to
          enhance shareholder value.

          Growth in the Retail Partner Channel continued within the quarter as we benefited
          from both domestic and international expansion and the catalog build out of
          Walmart.com and eBay. We anticipate continued growth in retail partner
          channels as we build out existing channels and integrate new marketplaces.

The Sale Process

          29.    In connection with its ongoing review of potential strategic opportunities,

CafePress’s Board retained Needham in March 2018 to serve as its financial advisor to, among

other things, help it explore strategic alternatives and work with management to identify a list of

parties that might be interested in pursuing a potential strategic transaction.

          30.    During the period from April 5, 2018 to June 20, 2018, the Company entered into

a Form Confidentiality Agreement with each of District Photo, an affiliate of Snapfish, Company

B (a strategic party), Company C (a financial sponsor), Company D (a financial sponsor),

Company E (a strategic party), Company F (a strategic party), Company G (a financial sponsor),

Company H (a strategic party), Company I (a strategic party), Company J (a strategic party),

Company K (a strategic party), Company L (a financial sponsor) and Company M (a strategic

party).

          31.    As a result of the sale process, the Company received indications of interest from

Company A, Company H and Snapfish.

          32.    On July 31, 2018, Snapfish submitted an indication of interest to acquire all of the

outstanding common stock of CafePress in an all-cash transaction for an aggregate purchase

price of $25 million, which represented approximately $1.39 per share.            The indication of

interest also included a 90-day exclusivity period.

          33.    On August 16, 2018, the Company and Snapfish entered into an Exclusivity



                                                  8
  Case 1:18-cv-01607-RGA Document 1 Filed 10/17/18 Page 9 of 18 PageID #: 9



Agreement.

       34.     On September 14, 2018, Snapfish proposed to acquire all of the outstanding

common stock of CafePress at a price of $1.50 per share in cash. That same day, the Company

agreed to extend the exclusivity period to October 5, 2018.

       35.     After negotiations during the exclusivity period, on September 26, 2018, Jasbir

Patel (“Patel”), CEO of Snapfish, advised Needham that Snapfish was tentatively prepared to

sign a definitive agreement with CafePress at a price of $1.48 in cash per share if the parties

could agree on final outstanding issues, which included the treatment of unvested equity awards

and certain representations and warranties.

       36.     Thereafter, on September 27, 2018, the Board met and considered the Proposed

Transaction and Needham rendered its fairness opinion.         The Board approved the Merger

Agreement and the Proposed Transaction.         The parties subsequently executed the Merger

Agreement.

The Proposed Transaction

       37.     On September 28, 2018, CafePress issued a press release announcing the

Proposed Transaction. The press release stated, in relevant part:

       SAN FRANCISCO and LOUISVILLE, Ky., Sept. 28, 2018 -- To expand its
       photo and non-photo product offerings, Snapfish, LLC (“Snapfish”) the premier
       personalized photo service and CafePress (NASDAQ:PRSS), a leading retailer of
       engaging merchandise and personalized gifts, today announced that they have
       entered into an Agreement and Plan of Merger pursuant to which Snapfish would
       acquire CafePress. Under the terms of the agreement, which was approved by the
       Boards of Directors of both companies, a subsidiary of Snapfish will commence a
       tender offer for all the outstanding shares of CafePresscommon stock. The
       acquisition would create a combined platform of photo and non-photo-based
       products that would produce hundreds of thousands of personalized products for
       consumers globally.

       “We are looking forward to welcoming CafePress and its employees into the
       Snapfish organization and working with them during the next phases of each
       company’s evolution,” said Jasbir Patel, CEO of Snapfish. “Since its beginning in

                                                9
 Case 1:18-cv-01607-RGA Document 1 Filed 10/17/18 Page 10 of 18 PageID #: 10



       1999, CafePress has been a leader in print-on-demand, personalized and custom
       merchandise because of its design community and best-in-class manufacturing
       capabilities. We look forward to leveraging CafePress’ highly efficient and
       innovative manufacturing process to further enhance our manufacturing
       capabilities. We are excited to combine our efforts to provide our customers more
       options and more value.”

       “Today marks a critical turning point in our pursuit to return CafePress to its
       market leading position in the personalized and expressive gift category. We are
       excited about the opportunity to accelerate growth by leveraging our content
       portfolio across Snapfish’s distribution channels,” said Fred Durham, founder and
       CEO of CafePress, Inc. “We take great pride in being the pioneer of offering
       personalized and custom merchandise to consumers and believe this transaction
       provides an opportunity to further our leading position as well as return value to
       our stockholders.”

       The transaction is expected to provide additional scale to two companies with
       almost 40 years of combined experience in the photo and personalization space.
       The transaction, once closed, would enable Snapfish to access over one billion
       content items, and a massive array of designs that are crowdsourced from a global
       community of more than two million independent designers. The transaction is
       also expected to bring partnerships to Snapfish with major entertainment
       properties. Additionally, following the closing of the transaction, CafePress would
       have access to additional manufacturing, marketing, and merchandising
       capabilities to expand its scope.

       Snapfish has received Support Agreements from certain CafePress stockholders,
       directors and management totaling approximately 51% of the outstanding
       common stock of CafePress. The transaction is expected to close in early
       November and is subject to customary closing conditions, including the tender
       into the offer by CafePress stockholders of shares representing at least a majority
       of the outstanding common stock.



The Recommendation Statement Contains Material Misstatements or Omissions

       38.    The defendants filed a materially incomplete and misleading Recommendation

Statement with the SEC and disseminated it to CafePress’ stockholders. The Recommendation

Statement misrepresents or omits material information that is necessary for the Company’s

stockholders to make an informed decision whether to tender their shares in favor of the

Proposed Transaction or seek appraisal.


                                               10
 Case 1:18-cv-01607-RGA Document 1 Filed 10/17/18 Page 11 of 18 PageID #: 11



       39.     Specifically, as set forth below, the Recommendation Statement fails to provide

Company stockholders with material information or provides them with materially misleading

information concerning: (i) the background leading to the Proposed Transaction; (ii) potential

conflicts of interest faced by Company insiders; and (iii) the data and inputs underlying the

financial valuation analyses that support the fairness opinion provided by Needham.

Accordingly, CafePress stockholders are being asked to make a tender or appraisal decision in

connection with the Proposed Transaction without all material information at their disposal.

Material Omissions Concerning the Background Process of the Proposed Transaction

       40.     The Recommendation Statement omits material information relating to the sale

process leading up to the Proposed Transaction.

       41.     In connection with CafePress’ outreach to potentially interested parties, the

Recommendation Statement sets forth that:

       During the period from April 16, 2018 to May 30, 2018, the Company entered
       into a Form Confidentiality Agreement with each of Company B (a strategic
       party), Company C (a financial sponsor), Company D (a financial sponsor),
       Company E (a strategic party), Company F (a strategic party), Company G (a
       financial sponsor), Company H (a strategic party), Company I (a strategic party),
       Company J (a strategic party), Company K (a strategic party) and Company L (a
       financial sponsor).

Recommendation Statement at 15. The Recommendation Statement further discloses that “[o]n

June 20, 2018, CafePress executed a Form Confidentiality Agreement with Company M, a

strategic party . . . .” Id. at 17. Yet, the Recommendation Statement fails to disclose whether the

confidentiality agreements CafePress entered into with these 12 bidders include standstill

provisions that are still in effect and/or contain “don’t-ask-don’t-waive” (“DADW”) standstill

provisions that are presently precluding either of these prospective bidders from making a

topping bid for the Company.



                                                11
 Case 1:18-cv-01607-RGA Document 1 Filed 10/17/18 Page 12 of 18 PageID #: 12



       42.     The disclosure of the terms of the standstill provisions in the confidentiality

agreements CafePress entered into with potential buyers is crucial to CafePress stockholders

being fully informed of whether their fiduciaries have put in place restrictive devices to foreclose

a topping bid for the Company.

       43.     The omission of this information renders the statements in the “Background of the

Transactions” section of the Recommendation Statement false and/or materially misleading in

contravention of the Exchange Act.

Material Omissions Concerning Company Insiders’ Potential Conflicts of Interest
       44.     The Recommendation Statement fails to disclose material information concerning

the potential conflicts of interest faced by CafePress insiders.

       45.     The Recommendation Statement sets forth that:

       Although it is possible that certain CafePress employees will enter into
       arrangements with Parent or its affiliates regarding employment, compensation or
       benefits prior to consummation of the Transactions, no such arrangements have
       been entered into by the CafePress executive officers or directors as of the date of
       this Solicitation/Recommendation Statement.

Recommendation Statement at 11. Yet, the September 28, 2018 joint press release announcing

the Proposed Transaction quoted Snapfish CEO Patel as stating: “We are looking forward to

welcoming CafePress and its employees into the Snapfish organization and working with them

during the next phases of each company’s evolution . . . .” The Recommendation Statement,

however, fails to disclose the details of all employment and retention-related discussions and

negotiations that occurred between Snapfish and CafePress executive officers, including who

participated in all such communications, when they occurred and their content, as well as

whether any of Snapfish’s prior proposals or indications of interest mentioned management

retention in the combined company.



                                                 12
 Case 1:18-cv-01607-RGA Document 1 Filed 10/17/18 Page 13 of 18 PageID #: 13



       46.     Communications regarding post-transaction employment during the negotiation of

the underlying transaction must be disclosed to stockholders. This information is necessary for

stockholders to understand potential conflicts of interest of management and the Board, as that

information provides illumination concerning motivations that would prevent fiduciaries from

acting solely in the best interests of the Company’s stockholders.

       47.     The omission of this information renders the statements in the “Background of the

Transactions” and “Compensation and Benefits of Continuing Employees” sections of the

Recommendation Statement false and/or materially misleading in contravention of the Exchange

Act.

Material Omissions Concerning Needham’s Financial Analyses

       48.     The Recommendation Statement describes Needham’s fairness opinion and the

various valuation analyses performed in support of its opinion. However, the description of

Needham’s fairness opinion and analyses fails to include key inputs and assumptions underlying

the analyses. Without this information, as described below, CafePress’ public stockholders are

unable to fully understand these analyses and, thus, are unable to determine what weight, if any,

to place on Needham’s fairness opinion in determining whether to tender their shares in favor of

the Proposed Transaction or seek appraisal.      This omitted information, if disclosed, would

significantly alter the total mix of information available to Needham’s stockholders.

       49.     With respect to Needham’s Discounted Cash Flow Analysis (“DCF”), the

Recommendation Statement fails to disclose: (i) the unlevered free cash flows Needham utilized

in its DCF calculation based on the sensitivities to the September Projections and the underlying

line items; (ii) quantification on an implied per share basis of the impact of each of Needham’s

respective sensitivity assumptions (iii) quantification of the inputs and the assumptions

underlying the discount rates ranging from 22.0% to 26.0%; (iv) the implied perpetuity growth

                                                13
 Case 1:18-cv-01607-RGA Document 1 Filed 10/17/18 Page 14 of 18 PageID #: 14



rate range resulting from the analysis; and (v) the Company’s net cash as of August 31, 2018,

utilized by Needham in its analysis.

       50.     With respect to the Needham’s Selected Companies Analysis and Selected

Transactions Analysis, the Recommendation Statement fails to disclose the individual multiples

and financial metrics for the companies and transactions observed by Needham in its respective

analyses.

       51.     When a banker’s endorsement of the fairness of a transaction is touted to

stockholders, the valuation methods used to arrive at that opinion as well as the key inputs and

range of ultimate values generated by those analyses must also be fairly disclosed.

       52.     The omission of this information renders the statements in the “Opinion of

Needham & Company, LLC” section of the Recommendation Statement false and/or materially

misleading in contravention of the Exchange Act.

       53.     The Individual Defendants were aware of their duty to disclose the above-

referenced omitted information and acted negligently (if not deliberately) in failing to include

this information in the Recommendation Statement. Absent disclosure of the foregoing material

information prior to the expiration of the Tender Offer, Plaintiff and the other members of the

Class will be unable to make a fully-informed tender or appraisal decision in connection with the

Proposed Transaction and are thus threatened with irreparable harm warranting the injunctive

relief sought herein.

                                       CLAIMS FOR RELIEF

                                              COUNT I

                      Class Claims Against All Defendants for Violations
                   of Section 14(d) of the Exchange Act and SEC Rule 14d-9

       53.     Plaintiff repeats all previous allegations as if set forth in full.


                                                  14
 Case 1:18-cv-01607-RGA Document 1 Filed 10/17/18 Page 15 of 18 PageID #: 15



       54.      Defendants have caused the Recommendation Statement to be issued with the

intention of soliciting CafePress stockholders to tender their shares in the Tender Offer.

       55.     Section 14(d)(4) of the Exchange Act and SEC Rule 14d-9 promulgated

thereunder require full and complete disclosure in connection with tender offers.

       56.     The Recommendation Statement violates Section 14(d)(4) and Rule 14d-9

because it omits material facts, including those set forth above, which omission renders the

Recommendation Statement false and/or misleading.

       57.     Defendants knowingly or with deliberate recklessness omitted the material

information identified above from the Recommendation Statement, causing certain statements

therein to be materially incomplete and therefore misleading.           Indeed, while defendants

undoubtedly had access to and/or reviewed the omitted material information in connection with

approving the Proposed Transaction, they allowed it to be omitted from the Recommendation

Statement, rendering certain portions of the Recommendation Statement materially incomplete

and therefore misleading.

       58.     The misrepresentations and omissions in the Recommendation Statement are

material to Plaintiff and the Class, who will be deprived of their right to make an informed

decision whether to tender their shares or seek appraisal if such misrepresentations and

omissions are not corrected prior to the expiration of the Tender Offer. Plaintiff and the Class

have no adequate remedy at law. Only through the exercise of this Court’s equitable powers can

Plaintiff and the Class be fully protected from the immediate and irreparable injury that

defendants’ actions threaten to inflict.




                                                15
 Case 1:18-cv-01607-RGA Document 1 Filed 10/17/18 Page 16 of 18 PageID #: 16



                                            COUNT II

  Class Claims Against All Defendants for Violations of Section 14(e) of the Exchange Act

       59.    Plaintiff repeats all previous allegations as if set forth in full.

       60.    Defendants violated Section 14(e) of the Exchange Act by issuing the

Recommendation Statement in which they made untrue statements of material facts or failed to

state all material facts necessary in order to make the statements made, in light of the

circumstances under which they are made, not misleading, or engaged in deceptive or

manipulative acts or practices, in connection with the Tender Offer commenced in conjunction

with the Proposed Transaction.

       61.    Defendants knew that Plaintiff would rely upon their statements in the

Recommendation Statement in determining whether to tender his shares pursuant to the Tender

Offer commenced in conjunction with the Proposed Transaction.

       62.    As a direct and proximate result of these defendants’ unlawful course of conduct

in violation of Section 14(e) of the Exchange Act, absent injunctive relief from the Court,

Plaintiff has sustained and will continue to sustain irreparable injury by being denied the

opportunity to make an informed decision in deciding whether or not to tender his shares or seek

appraisal.

                                            COUNT III

                    Class Claims Against the Individual Defendants for
                      Violation of Section 20(a) of the Exchange Act

       63.    Plaintiff repeats all previous allegations as if set forth in full.

       64.    The Individual Defendants acted as controlling persons of CafePress within the

meaning of Section 20(a) of the Exchange Act as alleged herein. By virtue of their positions as

officers or directors of CafePress and participation in or awareness of the Company’s operations


                                                 16
 Case 1:18-cv-01607-RGA Document 1 Filed 10/17/18 Page 17 of 18 PageID #: 17



or intimate knowledge of the false statements contained in the Recommendation Statement filed

with the SEC, they had the power to influence and control and did influence and control, directly

or indirectly, the decision-making of the Company, including the content and dissemination of

the various statements which Plaintiff contends are false and misleading.

       65.     Each of the Individual Defendants was provided with or had unlimited access to

copies of the Recommendation Statement and other statements alleged by Plaintiff to be

misleading prior to or shortly after these statements were issued and had the ability to prevent the

issuance of the statements or cause the statements to be corrected.

       66.     In particular, each of the Individual Defendants had direct and supervisory

involvement in the day-to-day operations of the Company, and, therefore, is presumed to have

had the power to control or influence the particular transactions giving rise to the securities

violations as alleged herein, and exercised the same. The Recommendation Statement at issue

contains the unanimous recommendation of each of the Individual Defendants to approve the

Proposed Transaction. They were, thus, directly involved in the making of this document.

       67.     In addition, as the Recommendation Statement sets forth at length, and as

described herein, the Individual Defendants were each involved in negotiating, reviewing, and

approving the Proposed Transaction. The Recommendation Statement purports to describe the

various issues and information that they reviewed and considered — descriptions which had

input from the Individual Defendants.

       68.     By virtue of the foregoing, the Individual Defendants have violated section 20(a)

of the Exchange Act.




                                                17
 Case 1:18-cv-01607-RGA Document 1 Filed 10/17/18 Page 18 of 18 PageID #: 18



                                     PRAYER FOR RELIEF

       WHEREFORE, Plaintiff demands judgment and preliminary and permanent relief,

including injunctive relief, in his favor on behalf of CafePress, and against defendants, as

follows:

       A.      Ordering that this action may be maintained as a class action and certifying

Plaintiff as the Class representative and Plaintiff’s counsel as Class counsel;

       B.      Preliminarily and permanently enjoining defendants and all persons acting in

concert with them from proceeding with, consummating, or closing the Proposed Transaction;

       C.      In the event defendants consummate the Proposed Transaction, rescinding it and

setting it aside or awarding rescissory damages to Plaintiff and the Class;

       D.      Awarding Plaintiff the costs of this action, including reasonable allowance for

Plaintiff’s attorneys’ and experts’ fees; and

       E.      Granting such other and further relief as this Court may deem just and proper.

                                         JURY DEMAND

       Plaintiff demands a trial by jury on all claims and issues so triable.



Dated: October 17, 2018                               O’KELLY ERNST & JOYCE, LLC

                                                 By /s/ Ryan M. Ernst
                                                    Ryan M. Ernst (#4788)
OF COUNSEL:                                         901 N. Market St., Suite 1000
                                                    Wilmington, DE 19801
WEISSLAW LLP                                        Tel.: (302) 778-4000
Richard A. Acocelli                                 Email: rernst@oelegal.com
Michael A. Rogovin
Kelly K. Moran                                        Attorneys for Plaintiff
1500 Broadway, 16th Floor
New York, New York 10036
Tel: (212) 682-3025
Fax: (212) 682-3010


                                                 18
